3S 44 (Rev. 09/19)

The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the fili
provided by local rules of court. This form, approved by the Judicial Conference of the U

inited States in

purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM)

and service of pleadings or other papers as
eptember 1974, is required for the use of the Clerk of Court for the

Case 2:00-.v-0087 4 1 EER 2 Qu Goo =>). Oreo " oS PAT

uired by law, except as

 

I. (a) PLAINTIFFS

Gabriella Kertesz pro se and all other similarly situated citizens

(b) County of Residence of First Listed Plaintiff
(EXCEPT IN U.S. PLAINTIFF CASES)

King

(ce) Attomeys (Firm Name, Address, and Telephone Number)

Gabriella Kertesz pro se

9702 1st Ave NW, Seattle WA 98117 Tel: 425-243-2287

DEFENDANTS
Bob Ferguson

Attorneys (if Known)

 

County of Residence of First Listed Defendant

King

(IN U.S. PLAINTIFF CASES ONLY)

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NOTE: INLAND CONDEMNATION CASES, USE THE LOCATION OF
THE TRACT OF LAND INVOLVED.

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If. BASIS OF JURISDICTION (Place an “X’” in One Box Only)

(1 US. Government
Plaintiff

2 US. Government
Defendant

2&3 Federal Question
(U.S. Government Not a Party)

O 4 Diversity

(indicate Citizenship of Parties in Item ITD)

 

AT

IIT. CITIZEN SHIP OF PRINCIPAL PARTIES (Place an “X” in One Box for Plaintiff

(For Diversity Cases Only) CLERK US. DI for Defendani)
PTF DEF WESTERN DISTRICT OF WASHINGTONE DEF
Citizen of This State %1 98% Incorporated or Principal Place a4
of Business In This State
Citizen of Another State (2 1% .2 Incorporated and Principal Place os 085
of Business In Another State
Citizen or Subject of a O 3 & 3. Foreign Nation O06 #6
Foreign Country

 

 

{110 Insurance

(3 120 Marine

OG 130 Miller Act

C3 140 Negotiable Instrument

(7 150 Recovery of Overpayment
& Enforcement of Judgment

(131 Medicare Act

(1 152 Recovery of Defaulted
Student Loans
(Excludes Veterans)

(153 Recovery of Overpayment
of Veteran’s Benefits

(9 160 Stockholders’ Suits

(1) 190 Other Contract

(9 195 Contract Product Liability

C1) 196 Franchise

 
 

  

CF 210 Land Condemnation

 

IV. NATURE OF SUIT (Place an “x” in One Box On

PERSONAL INJURY PERSONAL INJURY

6 310 Airplane (3 365 Personal Injury -

CO} 315 Airplane Product Product Liability
Liability & 367 Health Care/

(3 320 Assault, Libel & Pharmaceutical
Slander Personal Injury

© 330 Federal Employers’ Product Liability
Liability ( 368 Asbestos Personal

© 340 Marine Injury Product

3 345 Marine Product Liability
Liability PERSONAL PROPERTY

© 350 Motor Vehicle © 370 Other Fraud

C) 355 Motor Vehicle
Product Liability

C3 360 Other Personal
Injury

© 362 Personal Injury -

 
 
 

(3 440 Other Civil Rights

(3 371 Truth in Lending

(3 380 Other Personal
Property Damage

6 385 Property Damage
Product Liability

   

( 625 Drug Related Seizure

 

    
 
   

of Property 21 USC 881
O 690 Other

G 710 Fair Labor Standards
Act

GF 720 Labor/Management
Relations

0 740 Railway Labor Act

CO) 751 Family and Medical
Leave Act

O 790 Other Labor Litigation

O 791 Employee Retirement

42,840 Trademark

 

 

(3 422 Appeal 28 USC 158
0 423 Withdrawal
28 USC 157

Click here for: Nature of Suit Code Descriptions.

 

(0 375 False Claims Act
C1 376 Qui Tam (31 USC
3729(@))

 

820 Copyrights
C1 830 Patent

(1 835 Patent - Abbreviated
New Drug Application

C7 861 HIA (1395£P)

(7 862 Black Lung (923)

Ct 863 DIWC/DIWW (405(g))
f) 864 SSID Title XVI

£1 865 RSI (405(g))

 

CF 870 Taxes (U.S. Plaintiff

 

10 430 Banks and Banking

 
   

© 450 Commerce

(1 460 Deportation

(J 470 Racketeer Influenced and
Organizations

Corrupt
=. (C3 480 Consumer Credit

(15 USC 1681 or 1692)

(1 485 Telephone Consumer
Protection Act

©) 490 Cable/Sat TV

0 850 Securities/Commodities/
Exchange

0 890 Other Statutory Actions

20) 891 Agricultural Acts

1 893 Environmental Matters

 

 

 

 

 

 

 

 

 

 

CO 220 Foreclosure 0) 441 Voting C1 463 Alien Detainee Income Security Act or Defendant) (3 895 Freedom of Information
C¥.230 Rent Lease & Ejectment © 442 Employment 510 Motions to Vacate OG 871 RS—Third Party Act
G 240 Torts to Land C1 443 Housing/ Sentence 26 USC 7609 CF 896 Arbitration
(3 245 Tort Product Liability Accommodations C) 530 General C1 899 Administrative Procedure
(} 290. All Other Real Property (7 445 Amer. w/Disabilities - {1 535 Death Penalty Act/Review or Appeal of
Employment Other: ( 462 Naturalization Application Agency Decision
1) 446 Amer. w/Disabilities -] C1 540 Mandamus & Other } 11) 465 Other Immigration @& 950 Constitutionality of
Other 0 550 Civil Rights Actions State Statutes
© 448 Education O 555 Prison Condition
(1 560 Civil Detainee -
Conditions of
Confinement
V. ORIGIN (Place an “xX” in One Box Only)
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Proceeding State Court Appellate Court Reopened Another District Litigation - Litigation -
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oe hes U. S odes under which you are filing (De not cite jurisdictional statutes unless diversity):
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VI. CAUSE OF ACTION Fria
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vi olation of the [4tn Amendment +o the US. Conskiution
VI. REQUESTEDIN (7 CHECKIFTHISISACLASS ACTION DEMANDS CHECK YES only if demanded in complaint:
COMPLAINT: UNDER RULE 23, F.R.Cv.P. JURY DEMAND: (1 Yes No
VIIL RELATEDCASE(S)
IF ANY (See instructions): z KET ER
DATE 3 | SIGNATURE OF ATTORNEY OF RECORD
q l20 ao Gab hoe 44.44% pro se
FOR OFFICE USE ONLY ~
RECEIPT # AMOUNT APPLYING IFP JUDGE MAG. JUDGE

 
